            Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 1 of 9
                                               155TH ,JUDICIAL DISTRICT COURT

                                                 CASE SUMMARY
                                                 CASE NO. 2016V-0153
  KEITH SKOW                                                     §                        Location: 155th Judicin1 District Court
  vs.                                                            §                 Judicial Officer: Steinhauser, Jeff R.
 TAG TRUCK ENTERPRISES, LLC, SDR TRUCKING,                       §                           Filed on:   11/1012016
 LLC, AND COL VIN C. FIELDS                                      §

                                                     (:ASE f:'\.FOR;\'IATlOJ\


                                                                                           Case Type: Injury/Dan1age: Motor Vehicle

                                                                                           Case Flags: JURY FEE PAID

     DAT!£                                              CASE ASSIGN,\1ICNT


                    Current Case Assign1nent
                    Case Nu1nbcr                  2016V-0153
                    Court                         I55th Judicial District Court
                    Date Assigned                 11110/2016
                    Judicial Officer              Steinhauser, JcffR.



                                                     l'AHTY fNFORCHATION
                                                                                                                lead Attorneys
Plaintiff              SKOW, KEITH                                                                           BUZBEE, ANTHONY G.
                                                                                                                                Retained
                                                                                                                      713-223-5393(1'1)

Defendant              FIELDS, COLVIN C.

                       SOR TRUCKING, LLC

                       TAG TRUCK ENTERPRISES, LLC

     DATE                                      EVENTS   St ORDERS OF THE ('.OUHT                                          }\"DEX


  11/10/2016        i5J ORIGINAL PETITION (OCA)
                      PLAINTIFF'S ORIGINAL PETITION

  11110/2016        CITATION
                       Party: Defendant TAG TRUCK ENTERPRISES, LLC

  1 l/10/2016       CITATION BY PERSONAL SERVICE
                    TAG TRUCK ENTERPRISES, LLC
                    Unserved

  11110/2016        CITATION
                       Party: Defeodant SOR TRUCKING, LLC

  1111012016        CITATION BY PERSONAL SERVICE
                    SOR TRUCKING, LLC
                    Unserved

  11110/2016        CITATION
                       Party: Defendant FIELDS, COLVIN C.

  11/10/2016        CITATION BY PERSONAL SERVICE
                    FIELDS, COL VIN C.
                    Unserved
     DATE                                                 Fl:'\A:'\CIAL [:\'l'OU.\1ATJON

                J   Plaintiff SKOW, KEITH


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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 2 of 9
                                   155TH JUDICIAL DISTRICT COURT

                                     CASE SUMMARY
                                     CASE No. 2016V-0153
      Total Charges                                                         334.00
      Total Payments and Credits                                            334.00
      Balance Due as of 1112112016                                            0.00




                                             PAGE20F2              Printed on 11!2//2016at4:21 PM
Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 3 of 9




                                                                                       Submitted: 11/10/2016-9:56:53 AM
                                                                                              Sue Murphy, Dlstrlct Clerk
                                                                                                    Austin County, Texas
                                                                                                 By: Sue Murphy, Deputy




                                    CAUSENO.        2016V-0153

    KEITH SKOW                                  §              IN THE DIS1RICT COURT OF
                                                §
                                                §
                                                §             AUSTIN COUNTY, TEXAS
   v.                                           §
                                                §
                                                §           155TH JUDICJAL DISTRlCT
   TAG TRUCK ENTERPRISES LLC,                   §
   SDR TRUCKING LLC, AND                        §
   COLVIN C. FJELDS                             §             JURY 1RIAL DEMANDED

                              PLAINTIFF'S ORIGINAL PETITION

          NOW COMES Plaintiff Keith Skow ("Plaintiff'), complaining of Defendants Tag Truck

   Enterprises LLC (referred to herein as "Tag Truck Enterprises"), SDR Trucking LLC ("SDR

   Trucking") and Colvin C. Fields ("Fields"), and for cause of action would respectfully show this

   Honorable Court the following:

   I.     FACTUAL BACKGROUND

          Plaintiff Keith Skow is the father of Megan Nicole Skow. On or about October 17, 2016,

  Ms. Skow was driving eastbound on Hwy FM 3013 in Austin County, Texas. At the same time,

  Defendant Fields was traveling westbound on Hwy FM 3013, operating a tractor-trailer which was

  owned by Defendants Tag Truck Enterprises and SDR Trucking.

          While traveling on the roadway, Defendant Fields suddenly attempted to   tum the vehicle

  around by backing up the vehicle on the roadway at an angle. Jn doing so, Defendants' vehicle

  blocked the entire roadway. This caused Ms. Skow's vehicle to collide with Defendants' vehicle.

  Defendant Fields was charged with criminally negligence homicide.




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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 4 of 9




            Following the incident, Ms. Skow was transported by life flight to Memorial Hermann.

    Ms. Skow ultimately passed away from her injuries. Plaintiff Keith Skow lost his daughter due to

    Defendants' negligence, and now brings this suit to recover for damages.

    II.     DISCOVERY PLAN

            Plaintiff intends to conduct discovery under Level 2 of the Texas Rules of Civil Procedure.

    III.   PARTIES

           PlfilntiffKeith Skow is an individual who resides in Texas.

           Defendant Tag Truck Enterprises LLC is a limited liability company doing business in

    Texas. Defendant may be served with process via certified mail to the Texas Secretary of State,

   P.O. Box 12079, Austin, Texas 78711-2079, to be forwarded to Defendant at its headquarters at

    1650 East Brooks Road, Memphis, TN 38116.

           Defendant SDR Trucking LLC is a limited liability company doing business in Texas.

   Defendant may bi: served with process via certified mail to the Texas Secretary of State, P.O. Box

   12079, Austin, Texas 78711-2079, to be forwarded to Defendant at its headquarters at 5564

  _Universal Dr., Memphis, TN 38118

           Defendant Colvin C, Fields is an individual who does business in Texas. Defendant Fields

   maybe served at 5011 Davis CV, Memphis, TN 38116, or wherever he maybe foimd.

   IV.     VENUE AND JURISDICTION

           Venue and jurisdiction are proper. The relief requested is within the jurisdictional limits

   of this Court. Defendants conduct business in the state ofTex3', and this is the county in which

   all or a substantial part of the events or omissions giving rise to the claim occurred.

   V.      CAUSES OF ACTION

           A. NEGLIGENCE (ALL DEFE@ANTS)




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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 5 of 9




            Plaintiff re-alleges each above allegation as if fully set forth below. At the time of the

    accident, Defendant Colvin C. Fields was operating tbe vehicle negligently. Defendant Fields had

    a duty to exercise ordinary care and ensure the vehicle was operated in a reasonable and prudent

    manner. That duty was breached, and such negligence was a proximate cause of Plaintiff's

    injuries.

            Defendants Tag Truck Enterprises and SDR Trucking also had a duty to exercise ordinary

   care and ensure the safe operation of the vehicle. That duty was breached, and such negligence

   was a proximate cause of Plaintiff's injuries.

            Defendants' breach occurred in one or more of the following ways, among ofuers. The

   breach occurred in one or more oftbe following ways, among others:

            L Failing to properly screen, hire, and train drivers;

           2. Failing to observe and follow traffic laws, and to ensure employees or contractors

                observed and followed those laws, including those for maintaining a proper lookout,

                safely turning, and keeping the vehicle under proper control;

           3. Negligently entrusting the vehicle and load;

           4. Failing to properly supervise and control drivers;

           5. Failing to create or enforce safety rules regarding the operation of company vehicles;

                and

           6. Violating various statutes and regulations, including tbe Texas Transportation Code.

           Each of these acts and omissions, singularly or in c01nbination with others, constitute

   negligence, which was the proximate cause of this incident and the injuries sustained.

           B. RESPONDEAT SUPERIOR. AGENCY CALL DEFENDA.t"ITS)




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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 6 of 9




              Plaintiff re-alleges each above allegation as lf fully set forth below. Defendants' driver was

    an agent and/or servant of Defendants. Defendants' driver was conducting work for Defendants. AB

    such, Defendants are responsible for the conduct of Defendant Fields due to the relationship that

    existed, among other acts and omissions of negligence which may be shown during the trial of this

    cause.

             C. NEGLIGENCE PER SE (ALL DEFENDANTS)

             Plaintiff re-alleges each above allegation as if fully set forth below. The wrongful conduct

   was negligence per se because of a breach of duty imposed by statute. This breach caused the

   incident and Ms. Skow's death. Specifically, there was a breach of duties imposed by statutes and

   state law, including, but not limited to, the following:

             1. TEX. TRANSP. CODE ANN. § 545 .103: Requires an operatornot to turn the vehicle from
                a direct course or move right or left on a roadway unless movement can be made safely;
                and

             2. TEX. TRANSP. CODEANN. § 545.401: Sets forth a duty not to drive a vehicle in a willful
                or wanton disregard for the safety of persons and property.

             The statutes are ones for which tort liability may be imposed. The breach of the statutory

   duties proximately caused Ms. Skow's death, and damages claimed by Plaintiff.

             D. NEGLIGENT ENTRUSTMENT (DEFENDANTS TAG TRUCK ENTERPRISES
                AND SDR TRUCKING)

             Plaintiff re-alleges each above allegation as lf fully set forth below. Defendants Tag Truck

   Enterprises and SDR Trucking negligently entrusted the vehicle to Defendant Fields. Defendants

   knew or had reason to know that the <hiver should not have been operating the vehicle. Defendants'

   negligence was a proximate cause of the incident, and the resulting injuries.

             E. RES IPSA LOQUITOR CALL DEFENDANTS)




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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 7 of 9



                                                                                                             ( '   )-   ,
                                                                                                             .'




            Plaintiff re-alleges each above allegation as if fully set forth below. Defendants' negligence

    implicates the doctrine ofres ipsa loquitor because the character of the event made the basis of this

    lawsuit is such that it would not have occurred without negligence.

           F. GROSS NEGLIGENCE (ALL DEFENPANTS)

           Plaintiff re-alleges each above allegation as if fully set forth below. Plaintiff will further

    show that the acts and/or omissions of Defendants, as described above, when viewed objectively

   from the Defendants' standpoint, involve an extreme degree of risk considering the probability

   and magnitude of the potential harm to others. Defendants had actual subjective awareness of the

   risk involved, but nevertheless proceeded in conscious indifference to the rights, safety, and/or

   welfare of the others, inchrding Plaintiff. Further, Defendants Tag Truck Enterprises and SDR

   Trucking knew or should have known of the risk posed by Defendant Fields, and failed to prevent

   his actions.

           As such, Defendants' actions and omissions constitute gross negligence and malice as those

   terms are understood by law.

   VI.     DAMAGES

          Plaintiff seeks all damages available in a wrongful death action, and any further damages to

   which he may be entitled. Plaintiff seeks damages for mental anguish; pain and suffering; loss of

   earning capacity; loss of companionship, comfort and society; and loss of care, maintenance, services,

   advice and counsel. Because of the egregious nature of Defendants' actions, Plaintiff seeks punitive

   damages.

   VII.   REQUEST FOR DISCLOSURE




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Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 8 of 9




      ' '




             Pursuant to Tex. R. Civ. P. 194, Plaintiff requests that each Defendant disclose wiiliin fifty

    (50) days of service of this Request for Disclosure, the information and/or material described in Rule

    194.2.

    VlII. REQUEST FOR JURY TRIAL

             Plaintiff respectfully demands a jury trial and tenders the appropriate fee.

    IX.      PRAYER

             Plaintiff is entitled to, and prays to recover from Defendants damages set forth in this

   petition, within the jurisdictional limits of this Court. Plaintiff seeks damages over $1,000,000.

   Plaintiff also seeks post judgment interest at the maximnm legal rate, costs of court, and any other

   relief to which Plaintiff may be justly entitled.

                                                           Respectfully submitted,

                                                           THE BUZBEE lAW FIRM

                                                           By: Isl Anthony G. Buzbee
                                                       Anthony G. Buzbee
                                                       State Bar No. 24001820
                                                       Andrew Dao
                                                       State Bar No. 24082895
                                                       JPMorgan Chase Tower
                                                       600 Travis Street, Suite 7300
                                                       Houston, Texas 77002
                                                       Tel: (713) 223-5393
                                                       Fax: (713) 223-5909
                                                       Email: tbuzbee@txattomeys.com
                                                       Email: adao@txattorneys.com
                                                       www.txattorneys.com

                                                       ATIORNEYS FOR PLAINTIFF




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       Case 4:16-cv-03512 Document 1-1 Filed on 11/28/16 in TXSD Page 9 of 9




                                   THE STATE OF TEXAS
                                                                                                         ,
           NOTICE TO DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF
     YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO ISSUED
     THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION OF TWENTY
     DAYS AFTER YOU WERE SERVED THIS CITATION AND PETffiON, A DEFAULT JUDGMENT MAY BE
     TAKEN AGAINST YOU."
                                         COLVlN C. FIELDS
I                                         5011 DAVIS CV
I                                       MEMPHIS TN 38116
                                  OR WHEREVERHEMAYBEFOUND
     GREETING:

          YOU ARE HEREBY COMMANDED TO APPEAR BY FILING A WRITTEN ANSWER TO THE
    PLAINTIFF'S ORIGlNAL PETITION AT OR BEFORE 10:00 A.M. OF THE MONDAY NEXT AFTER THE
    EXPIRATION OF TWENTY DAYS AFTER THE DATE OF SERVICE OF THIS CITATION BEFORE THE
    HONORABLE DISTRICT COURT OF AUSTIN COUNlY, TEXAS AT THE COURTHOUSE OF SAID
    COUNTY ON THE SECONj) FLOOR ON BELLVILLE, TEXAS. SAID PLAINTIFF'S ORIGINAL PETITION
    WAS FILED ON THE DOCKET OF SAID COURT NOVEMBER IO. 2016 WITH THE FOLLOWING PARTIES
    AND NUMBERED:
                                      .. ]'10: ilii6v~o1s3 ...
     KEITH SKOW                                                                IN THE DISTRICT COURT
     vs.                                                                       AUSTIN COUNTY, TEXAS
     TAG TRUCK ENTERPRISES, LI£,                                               155TH JUDICIAL DISTRICT
     SDR TRUCKING, LLC, AND                        ·;,.
     COLVIN C. FIELDS               . •   · ·•··    ••· ·

           THE NAME AND ADDREis6F   ATro~?t~RESENtia±im
                               .·· ~o~YG.Bt)?~F;~: ..... •
                                                                               PETITIONER IS:


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                                   . 600 TRAvISB:r; STE 7300 .
                                     ·nciusi:Q~Jxy7002
                                          713-223-5393      '_., ·.• •"·'" •

         THE NATURE OF PETITIONER'S DEMAND IS FULLY SHOWN BY A TRUE AND CORRECT
    COPY OF PLAINTIFF'S ORIGINAL PETITION ACCOMPANYING THIS CITATION AND MADE A PART
    HEREOF.

          THE OFFICER EXECUTING THIS WRIT SHALL PROMPTLY SERVE THE SAME ACCORDING TO
    REQUIREMENT OF LAW, AND THE MANDATES THEREOF, AND MAKE DUE RETURN AS THE LAW
    DIRECTS.

         ISSUED AND GIVEN UNDER MY HA1'.'D AND SEAL OF SAID COURT AT BELLVILLE, TEXAS
    ON NOVEMBER 10, 2016.


    ATTEST:~JrkHY*~~                                         ONE EAST MAIN, BELLVILLE,
                                                            AUSTIN COUNTY, TEXAS 77418
    (SEAL)
    BY: -D-E~PUT~Y~~~~~~~~~~

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